                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

              AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Reid C. Hudson, being duly sworn, do hereby depose and state:

   1. I am a Special Agent with the Federal Bureau of Investigation and have been since June

       2022. I am a graduate of the Federal Bureau of Investigation Basic Field Training Course

       in Quantico, Virginia. I am a duly sworn agent who is authorized to carry firearms,

       execute warrants and make arrests for offenses against the United States and to perform

       other duties as authorized by law.

   2. The facts contained in this affidavit are based upon information both provided to me by

       other law enforcement officers and witnesses and obtained firsthand during the course of

       this investigation. Since this affidavit is made for the limited purpose of supporting a

       Criminal Complaint, I have not set forth every fact learned during the course of the

       investigation. Rather, I have set forth only those facts that I believe are necessary to

       establish probable cause for the crimes charged. Unless otherwise indicated, where

       actions, conversations, and statements of others are related herein, they are related in

       substance and in part only.

   3. On June 26, 2023 a confidential source (CS) was approached by a subject known as

       “Dillon” (later identified as Dillon Scott DEES) while at a job site within Bexar County,

       Texas. DEES asked the CS if the CS would be able to find a third party who would carry

       out a murder for compensation. DEES told the CS that his ex-wife was attempting to

       move to Ohio with their daughter and that his former father-in-law was a problem for

       him. DEES stated his former father-in-law is a local police officer and that he has tried to
   involve local law enforcement in child custody issues with his ex-wife but nothing is

   done, which he believes is due to his former father-in-law being an officer. The CS ended

   this conversation by telling DEES he would attempt to locate someone willing to commit

   the murder (a hitman).

4. After the conclusion of this conversation, CS contacted DEA TFO David Camacho. CS

   informed TFO Camacho of what had taken place along with providing DEES’s cell

   phone number. Using law enforcement databases, DEA personnel identified Dillon DEES

   as the user of the provided phone number. CS provided a recent photo of “Dillon” to TFO

   Camacho who compared the photo to DEES’ Texas Driver’s License photo, and

   confirmed the photos were of the same individual.

5. Using public databases, TFO Camacho was able to locate divorce/child custody records

   showing DEES and his ex-wife were involved in court proceedings. Further research by

   TFO Camacho located an emergency contact associated with DEES’ ex-wife’s Texas

   Driver’s License listing VICTIM 1. TFO Camacho was able to confirm VICTIM 1 is

   currently employed as a local law enforcement officer.

6. TFO Camacho met with VICTIM 1, who confirmed DEES is his former son-in-law and

   his daughter is planning to move to Ohio with her husband and daughter.

7. During the evening of June 26, 2023, CS called DEES. This conversation was recorded

   and provided to your Affiant. In the call, CS asked DEES if he was serious about doing

   the “shit” they talked about earlier, to which DEES responded “yeah.” CS told DEES he

   has a guy in the valley and can give him the phone number. DEES asked to talk in person

   and think about it overnight.
8. On June 27, 2023, a meeting was set up between Dillon DEES and CS. CS was provided

   covert audio/video recording equipment for the meet which was monitored by covert law

   enforcement officers.

9. Upon the arrival of CS and DEES, DEES entered CS’s vehicle where CS and DEES

   discussed the murder of VICTIM 1. DEES stated he would pay the “hitman” the

   equivalent of $27,000 in Bitcoin. DEES told CS that using Bitcoin would make the

   payment untraceable. DEES requested the murder not take place around his daughter and

   that his daughter not see the murder. DEES asked if the murder could take place in Ohio

   as DEES recently got off probation and he feels as though “all eyes [are] on me.” DEES

   told CS he did not want to meet the “hitman,” he only wanted to deal with CS.

10. CS and DEES again discussed why DEES wanted VICTIM 1 killed and DEES explained

   that VICTIM 1 is the reason his ex-wife wants to move to Ohio and accused his ex-wife

   of being the reason he was convicted of a theft charge for which he was on probation.

11. CS informed DEES the “hitman” would require partial payment prior to the murder, to

   which DEES agreed. DEES offered to pay off CS vehicle as compensation for setting

   him up with the “hitman.”

12. DEES explained to CS that he has a court hearing on July 13, 2023 for the court to decide

   if his ex-wife would be allowed to move to Ohio with their daughter or not. DEES stated

   if this court hearing goes in his favor, he does not want the murder to occur but if the

   hearing does not go in his favor, he wants the murder to take place. CS told DEES this is

   a capital offense, which DEES acknowledged.

13. At the conclusion of this meeting TFO Camacho took possession of the audio/video

   recording devices and provided the audio/video to your Affiant.
